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                             IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF OKLAHOMA

DSB OAKGLEN, LP,                                   )
                                                   )
                Plaintiff,                         )
                                                   )    Case No. 6:16-cv-02-FHS
v.                                                 )
                                                   )
                                                   )
SCOTTSDALE INSURANCE COMPANY,                      )
                                                   )
                Defendant.                         )


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff and Defendant, by and through their undersigned attorneys of record, hereby jointly

stipulate, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), for dismissal of this action, with prejudice, in

its entirety. Each party shall bear its own costs and attorney fees.

        Dated this 11th day of November, 2016.

                                                        Respectfully submitted,


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